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                                          U.S. Department of Justice
[Type text]
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Septe                                                 Southern District of New York

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                                                      March 10, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

           Re:    United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter regarding: (1) which parts of Mr. Kim’s
testimony should be struck; and (2) the mechanics to be employed in connection with the striking.

  I.       Testimony to be Stricken

           The defense proposes striking the following segments of Mr. Kim’s testimony:

          Tr. 473 (lines 10-19)
          Tr. 501 (line 15) – Tr. 502 (line 2)
          Tr. 502 (line 25) – Tr. 503 (line 5)
          Tr. 507 (line 5) – Tr. 510 (line 25)
          Tr. 600 (lines 23-25)
          Tr. 601 (line 4-9)
          Tr. 652 (line 18-20)
          Tr. 653 (line 19) – Tr. 656 (line 11)
          Tr. 659 (lines 1-5)
       The Government consents to the Court striking the following testimony from Mr. Kim
regarding the concept of strict liability, only:

          Tr. 501 (line 22)-Tr. 502 (line 2)
          Tr. 600 (lines 23-25)
          Tr. 652 (lines 18-20)
The Government does not dispute that striking testimony related to this more limited topic is
appropriate because defense counsel could have sought to impeach Mr. Kim’s testimony regarding
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strict liability by inquiring about his knowledge of: (1) Commerzbank’s letter to OFAC regarding
the April 4, 2011 payment, (2) the prosecution team’s September 2016 communication with OFAC
regarding evidence related to this case, and (3) OFAC’s apparent inaction in response to these two
sources of information. That said, appropriate remedial steps have already been imposed,
including today’s adverse inference instruction and the Government’s execution of the stipulation
regarding these issues, and the defense has declined the Court’s further invitation to recall Mr.
Kim and put these questions to him.

        In this context—while the Government in no way seeks to minimize the disclosure issues
that have been discussed with the Court and counsel—the Government respectfully submits that
the Court should not strike Mr. Kim’s testimony concerning OFAC’s general practices and
processes. Mr. Kim testified on cross examination that he was not aware of any OFAC action in
this case, and the parties have so stipulated. See Tr. 580 (“Q: So, to your knowledge, this matter
was never investigated by OFAC, correct? A: In my knowledge, no. Q: Ok. To your knowledge,
was there ever a referral made by J.P. Morgan to OFAC relating to this case? A: In my knowledge,
no.”); DX 1901-R. Accordingly, there is no basis to strike Mr. Kim’s general expert testimony
regarding OFAC’s role in administering the U.S. sanctions program, which included:

        (1) The blocking of assets;

        (2) The fact that U.S. correspondent banks can be held liable for sanctions violations, even
        if they do not know of the Iranian connection to the transaction;

        (3) The fact that OFAC’s mission is made more difficult to perform when parties hide
        Iranian connections;

        (4) The various penalties, in general, that OFAC can impose on banks, ranging from
        cautionary letters to monetary penalties; and

        (5) The fact that banks are a source of information that can lead OFAC to open an
        investigation or pursue enforcement actions.

During this testimony, Mr. Kim did not discuss any of the facts of this case, or make any
representations about what, if anything, OFAC would have done had it known these facts.
Accordingly, and particularly in light of the defense’s strategic choice not to recall Mr. Kim, the
additional testimony identified by the defense should not be stricken.

I.II.   Mechanics of Striking the Testimony

        The Government does not object to the Court identifying specific page and line numbers
to be stricken outside the presence of the jury. The Government respectfully submits, however,
that the jurors must be given, at minimum, a general description of the testimony that they are no
longer permitted to consider. The defense proposal that the Court instruct the jury that unspecified
“parts” of Mr. Kim’s testimony are stricken would leave the jurors to guess which parts of the
testimony are still in the record. See Dkt. 291 at 3. While the Government understands that the
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defense feels there is a strategic disadvantage to identifying the stricken testimony to the jury in
some fashion, it bears repeating that the defense has elected to pursue this strategy rather than to
recall Mr. Kim. See id. Moreover, the risk of juror confusion regarding the state of the record far
outweighs this strategic consideration, as the jury must be presumed to follow the Court’s
instruction to disregard the testimony, which the Court can reiterate as a general matter during its
final instructions following summations. E.g., United States v. Cox, 324 F.3d 77, 87 (2d Cir. 2003)
(“[A]bsent evidence to the contrary, we presume that jurors remain true to their oath and
conscientiously observe the instructions and admonitions of the court.”).

                                                       Respectfully submitted,
                                                       GEOFFREY S. BERMAN
                                                       United States Attorney

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cc: Defense Counsel (by ECF)
